Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 1 of 60

FILED IN CLERK'S OFFICE
U.S.D.C. Atlanta

APR 10 2025
Case No. 25-cv-00613-MLB "6 P. WEIMER, Clerk

By Deputy Clerk

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

In re:
GROUP MANAGEMENT CORP.,
a/k/a IVG Corp.,
Debtor.

ULYSSES T. WARE, and
GROUP MANAGEMENT,
Appellants,

ALPHA CAPITAL, AG,
STONESTREET, L.P.,
MARKHAM HOLDINGS, LTD.,
AMRO INTERNATIONAL, S.A.,
et al.,

Appellees.

On Appeal from the United States Bankruptcy Court
for the Northern District of Georgia (Atlanta Division),
Case No. 03-93031-BEM (Hon. Barbara Ellis-Monro)

APPELLANTS’ BRIEF
_ Filed on behalf of Appellants,
Ulysses T. Ware and Group Management

(Part 18-OA) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26

Dated: April 7, 2025, 11:52:00 AM
Brooklyn, New York

Respectfully submitted,

/s/ Ulysses T. Ware

flaps 2 Wa

Ulysses T. Ware

Attorney in Fact for Appellants

Ulysses T. Ware and Group Management
The Office of Ulysses T. Ware

123 Linden Blvd., Suite 9-L

Brooklyn, NY 11226

(718) 844-1260

utware007@gmail.com

Filed 04/10/25

Page 2 of 60

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 3 of 60

Rule 80141: CORPORATE DISCLOSURE STATEMENT

I. Purpose

Pursuant to Federal Rule of Bankruptcy Procedure 8012, the purpose of this
Corporate Disclosure Statement is to identify any parent corporation or any publicly

held corporation that owns 10% or more of the equity interests in the Appellant.

II. Disclosure

1. The Appellants are:

¢ Ulysses T. Ware, an individual and natural person

« Group Management, operating as a sole proprietorship (d/b/a) of Mr. Ware.

2. Appellants are not a corporation, nor is there any publicly held corporation that
owns 10% or more of ‘the equity interests in Group Management. As a sole
proprietorship, Group Management has no parent corporation and no publicly traded

ownership interests.
3. No corporate disclosure requirements apply beyond the foregoing statement.

Dated: April 7, 2025

Respectfully submitted,
/s/ Ulysses T. Ware
Yl type oP. Ware |

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 4 of 60

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
utware007@gmail.com

Attorney in fact for the Appellants, Ulysses T. Ware and Group Management.

iv

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 5 of 60

Table of Contents

Rule 8014 I: CORPORATE DISCLOSURE STATEMENT...........cssccsssssssstssesssnseeceseeeaeesssaenens iii
Rule 80141V: JURISDICTIONAL STATEMENT ........ccccsccssesssssesnesssersersssceseensensessaseessseesserseesessees 1
A. Basis for the Bankruptcy Court’s Subject Matter Jurisdiction ...............ssssssssesssseeseenenensesees 1
B. Basis for the District Court’s Jurisdiction ..................ccccsssssccsssesssscccceneneeenssaceesssseeseassoeessssnscnseseeens 2
C. Filing Dates Demonstrating the Timeliness of the Appeal..................:sssssssesssessssesserensenensenenrensenees 3

D. Assertion That the Appeal Concerns Orders Final in Form but Void for Lack of Article III
Jurisdiction..............008 Jeccesacesnsccsvacesensrenscsceceascaesesencersussacscoosscssssecusonseennevsnsuescnesneseaesensessucaseseussaauaaseeseess 4
Rule 8014 V: STATEMENT OF THE ISSUES PRESENTED ON APPEAL ..........ccsescssseteesees 6
A. LIST OF APPELLATE ISSUES RAISED BY APPELLANTS. ...........scscsceseecsesrserseenresenesseneanenes 6
B. STANDARDS OF APPELLATE REVIEW ........ccccscssssssssssscessessssessrsesscenssesesseseesssessansannesenannans 10
Rule 8014 VI: STATEMENT OF THE CASE ........cccccccscssscsenesessesessecsessseeetsesnsessessnenssneesnconesees 13
A. The Parties’ Joint Stipulated Dispositive Relevant Facts to the Issues Submitted for Review. 13
I. PROCEDURAL POSTURE OF THE CASE .........cccccsssssccetsenssssssnensesnensenersaseeesensscensessoonsngoeaeans 13
A. Initiation of the Appeal .............ccccsesssssssssssnecssesessessnsssessenesnetessesssserssseeneaneusersseneaeesneeeseeaenaes 14
B. Designation of Record and Transmittal ...............-2--scssesscsssesssssnseessnesesessesenearsesnsessenenenenenensnens 15
C. Procedural Developments in the District Court .............cccsessssceresssresssrstseseenssssseesneneerenenaeenes 15
D. Related Proceedings ...............-::ssssssssssssesssccecesrsessssesacsnsessnnsnerserceuseeseeaacenssseensenuecsenseesveeseenessesats 17
E. 25cev00613 (NDGA) Appeal Status as of April 1, 2025. ...........seeseesseeesresoreenneseseeneansensensatens 18
Rule 8014 VII: SUMMARY OF THE ARGUMENT ..........ccscscssessssssssesseneeteseertessaesnssensnsssenseons 19
Rule 8014 VIII: ARGUMENT..........cccsccccssssssscrssscsssecsccsssessessscssnesnecssensasenseasenssesessensssensuscsssssoanenates 22
Part I: “THRESHOLD” ARTICLE III JURISDICTIONAL ISSUEG..........:.ccssscssessssereessseesseesnsnssees 22

1. APPELLEES LACK ARTICLE III STANDING TO PARTICIPATE IN THIS APPEAL,
REQUIRING DISMISSAL OF THEIR PARTICIPATION AND REVERSAL OF ANY

UNDERLYING ORDERS PREDICATED ON THEIR PURPORTED CLAIMG...........::eesee0 23
APPELLANTS’ JURISDICTIONAL OPENING STATEMENT............:ccssccsssssesessevssestensennsesoees 23
Introduction, Analysis, and Discussion.............ssscsscssscsssssersscetsessnsonansnsnnsssceasessoorssteensenesasssessesasenes 25
A. The Constitutional Imperative of Standing and Appellees' Abject and Total Failure to Meet
This Threshold Requirement. ..............cccssssssccsssscrsrssessescsssesnsesesensesssseesssecesssnseasscassaessesteneneanenenssenaenes 25
B. Governing Law: The Rigorous Requirements of Article IT] Standing.................sssscssesesseereees 29
C. Appellees Categorically Fail to Establish Any Element of Article IIT Standing...................+ 31
D. GX 1-4, and GX 5 are Null and Void Ab initio Predatory Criminal Usury Subject Matter
Under New York Lawse ........s:csssccssssssssssccsssssssceonnecessecssrconssconsensscsnsssnssscoasecoosnansecsovscoussnssegeesserensstngess 31
E. Steel Co. Mandates Dismissal for Lack of Threshold Jurisdiction. ............:.ssssecssesseesereceesee 36
v

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 6 of 60

F. Conclusion: Appellees Are Improper Parties Lacking Constitutional Standing........................ 36
Part II: MERIT ISSUES RAISED BY APPELLANTS. ..........:ccccesssersssssessecseesersenseesesneessosesscensensenes 37

1. APPELLEES’ (PREDATORY UNREGISTERED BROKER-DEALERS) CONVERTIBLE
PROMISSORY NOTES, GX 1-4, AND GX 5, ARE NULL AND VOID AB INITIO,
UNENFORCEABLE, UNCOLLECTIBLE, PREDATORY CRIMINAL USURY UNLAWFUL
DEBTS THAT VIOLATED NYS PENAL LAW, § 190.40, A CLASS E FELONY; AND
VIOLATED THE FEDERAL RACKETEERING AND LOAN SHARKING CRIMINAL LAWS,

18 USC §§ 1951(a), 1961(6)(B), 1962(a-d), and 1964(C).........sssesersececereeetsreseonsensesensersesssssennteeeseaenes 37
Introduction, Analysis, and Discussion. .............::ssscsssssecsresssessssseseeseesesesnssscensesenseneecessesnsneeasessesseeseaes 38
OPENING STATEMENT. .........cccscsssosscsessessrsccecessescesessasssccesareatuscuenesnesnecsersessssseeensesnsssssneneanseasessenoneags 38
Rule 8014 [X. Conclusion and Precise Relief Sought...............ssssssesesees rapeseestt davsncnasadSoveoseddegsanttace? 39
Rule 8014 X: Certificate of Compliance .............ccccssccsssssssscessestsensensenessteresenerseseesseareersensenenssacaeeseneaoes 42
RULE 8014 XI: ADDITIONAL CONSIDERATIONS FOR THIS APPEAL...........::ccccsseesesnsseseenes 42
A. Potential Protective or Injunctive Relief...............cc:ccesscccrsesressecsceessesersseresensensesssssnusenseoanssees 43

B. References to Predatory Usury and Voided Debt Instruments..................::scsceccseresenseeenteeoees 44

C. Res Judicata and Collateral Estoppel..............cessscscsccsscesressssessessenssensnscssessaeseessounnesesnasssssssonane 45

D. Evidentiary or Procedural Defects ..............:sssscsssssseeseessenesssacseessessenssessserenensnssenseesesnnseseeneaaess 47
CONCLUSION .u...ccscsssssscscssressssnsssseseseacesesssseevessssneresessssuseesaneucesaseauentesenseeneusussenagersensesesnssneseseuaens 48
Declaration of Filing and Service Pursuant to 18 U.S.C. § 2071(a), (D) ........-.scesssssssesessserssneseseeeeenenens 50
Compliance with Standing Order, { (im), DKt. 2. ............scscccesesocsssesssesseneseessesesesensensaesesneseaeassenenennees 50

vi

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Cases

Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 7 of 60

TABLE OF AUTHORITIES
(Alphabetically Arranged)
A.B. Dick Co. v. Marr, 197 F.2d 498 (2d Cir. 1952) wc... escsssssscssessesccesenssereeseeeneeseeeenes 23
Adar Bays, LLC v. GeneSYS ID, Inc., 28 F 4th 379 (2d Cir, 2022). .....sssssseseesseeessesssons 30

Alpha Capital AG v. Group Management Corp., No. 02cv2219 (S.D.N.Y.)
sessstaceseeeress 205 44

4. Anderson v. Bessemer City, 470 U.S. 564 (1985) ......cscsscessssessserssesecensescsecssensneessansensenees 11
5. Brady v. Maryland, 373 U.S. 83 (1963) ......ssssessseresesresssecsnensnsesseesseeeceeeseeessenssessessseees 17
6. Clapper v. Amnesty Int'l USA, 568 U.S. 398 (2013) ...e-eessseseeersnseeseseeeseeees 26, 29, 32, 36
7. Federated Dep’t Stores, Inc. v. Moitie, 452 U.S. 394 (1981) ......secsceceereeeterseeeereeeeeneees 31
8. Inre JLJ Inc., 988 F.2d 1112 (11th Cir, 1993) oe ceeesercessesssressessesssessesersenssnssesoeees 10
9. Inre Walker, 515 F.3d 1204 (11th Cir. 2008) 0... cccessssscsercesssesessrceeceaeteesnsenersnesenees 11
10. Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992) .....ssscsssceesesesssseececeeees 25, 28, 29, 30,
capte sie e Oe - eA cgi n «thie cM poe elites the sto agand gs te FoR 139s gh Sap kaa sewed 33, 34, 36
11. PPX Enterprises, Inc. v. Audiofidelity, Inc., 746 F.2d 120 (2d Cir. 1984)
wo 24
12. Ritzen Grp. v. Jackson Masonry, LLC, 140 S. Ct. 582 (2020) .....ssscssseseseeeecesseeeneneeee 10, 11
13. Simon v. Eastern Ky. Welfare Rights Org., 426 U.S. 26 (1976) ......sscssssesesssseesesseneeeeeers 29
14. Spokeo, Inc. v. Robins, 578 U.S. 330 (2016) ......cccsesssssrssssssssvseesessrscsssrossersasoneesesensenseeats 28
15. Stanley Works v. FTC, 469 F.2d 498 (2d Cir. 1972) .....ssscssssssscssessesseneesereenrsesesesencecsesenees 24
16. Steel Co. v. Citizens for a Better Env't, 523 U.S. 83 (1998) .....sssssesssessereneneersseeeees 19, 21,
Nav Beteas nih la dapaMy inn R alge eid Slice Baca flats y355 segene stort Spook se Meamew eds 23, 24, 25, 35, 36, 38
17. United States v. Grote, 961 F.3d 105 (2d Cir. 2020) 0.0... cseccscsssscsceescssescesesseessresesenens 24
18. United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260 (2010) ........sscsssesseeressssereseenees 15
Statutes
D1 US IB) reli nn... ceeteates denenspsutentoagopwagiicresauaubersoasch oashiesiunettlvegenas¥tnatenstnneeractinarnasehe 15
2. VV TS C6 SAW ces, Bese ctes staves sneesnect Sococtusochovonvvaneveshon quvwssi usvenetansonenveallsanpapeatesesnens sitio Sep 14
Bu TT GC SA Ba Liss sie cotzecasteases on panty sesgpe ap ntnanconwvnunneany obbes Wek PagponnBannaniepevensennaaaites 14, 17
A, VULGAR DER IDD cssccsctennyecesSasensstessesnnoscovennssithasavescercesstiivassisegptesgeapeocnanvarse inaieetadeadhuaaten 14

vii

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB

Document 26 Filed 04/10/25 Page 8 of 60

5. TI WSC. § ILD)... ccssavtiae atierssanreegesstes 0, 15, 46
6. DE WSC. FFI airless este tik Bepenperesenssessonensssinenvenensetaneansesnensssitt renadinaiberensdinien Sens overbie sees 27
7. LS USAC. § 77 w.secsssscessescssscssscescescceseonsssssnassenerssensststessessacenenanneasassososeseserssoasenensnessseasnesss 27
8. 15 U.S.C. § 7X cecescssssssssssessssncssersccsccscsscesscsnerssseessenessarsssseenseeessessscsesseseennsasonsassssseesesersen 27
9. 15 U.S.C. § T80(a)(1) .... ecessscesscsesscsssesssnsesscsecnesesaeensssensesenanssneseccnseassnseasosnsensets 22,21, 31
10. 15 U.S.C. § 78p(b) ...csccssesccssecssssesesssssssesseenseessecessasscnscsessesecsoneseeseeeceesausneasneseeessaneas 17, 39
11. 15 U.S.C. § T8CC(D) ..ccccecesscssssseserssssssssscssseseeesesecrsssecsaessensssseeeeeeessoesessssonssensssenesanes 22, 34.
12. 18 U.S.C. § 152 eccceccsssscecesseseecseeecsssssessesansessesestesusessesenacessseesesosasesosonsesausagsnsserenseagenes 29
13. 18 U.S.C. § 157 w.ccssscssccsccsscessessssessssssssssseessssesssesrsacecaesseneasacesesscsssssscseesssasarssssnorsssessearers 29
Lao UB WSC, SPIT coset. cosncaponeeninnsovs th cage aan art sah iabonncangubanennetees’ 1, 14, 19, 24, 25, 27, 29, 36
15. 18 U.S.C. § 1961(4) vc eesssscssscscesscessssssssseseeseenesessenssessnessscssscssesanssssnsensecasonsseseaseassaseers 27
16. 18 U.S.C. § 1961(6)(B) 2... ceccsessesssereseeseeesssereeseeneees 1, 14, 19, 22, 24, 25, 27, 29, 36, 42
17. 18 U.S.C. §§ 1961-1964 woes esectsecsssssscesssessenseseenessenssenscecenensecsssenessosenensssersconsaaneness 16
18. TB UYS.C EBs D620 A) rts ahs cate cas ecepanasatin oseerasdtonssensaececantenedaieers 1, 14, 19, 25, 27, 29, 36
19. 18 U.S.C. § 1964(C) oo... esseccsscccsssssssssersestcssseessenstscsnsessnsnsssesseasasscensscennensoassseasees 25, 29, 36
20. 18 U.S.C. § 2071(a), (D) .1....-.eeeecscssesssesssssssssenssscssensenacacnennensnseneneaeoseenesscoesasssssnsnsusensenoras 49
21. 28 USC. § 157 ....ccccsssssssesssssserscnccorserssnscssseronssnsnsssovaressaseaseseasereseacssessaserassororssessaseas 1,29
22. 28 U.S.C. § 158(a) ou... ceecessecececessescscosssssssscseseesessseessensacsacacesenssessensssceasoeasaneussorssuseseseseneeesas 2
23. 28 U.S.C. § 158(a)(1) on... ceeesesseseecscsvessssseecessesessssssescscessnesenssnecesseeseasssssssssssssosscsssessesssaeats 4
24, 28 ULS.C. § 1334 wuacecssssssesscececsscceessssnsescesssoesesrensnssnssaenennessessecsasesseseseesneasarsessarsasonseees 1

25. 2B U.S.C. 8 1654 i.e csecsscsssessonsossovensnssssssccseserssecrassconssenacsassesnoassasoesnenereesnsassseorsesssasanseds 15

26. 28 U.S.C. § 1746 ...c.ecccesssssssssssesssessssscrsesssorsascessnssacsescestecesssacearseensarsssuagesoeassossonontesonoasees 49

27, 2BUS.C. § BOT ira scvetheneoteneeconadanpansetvoresosstnaescsnsacioceaciacnenesessenpeesebspesqae pubwon ef 23, 39, 40

28. N.Y. Penal Law § 190.40 .....5..0.2:---scsesececseatsacestecesstescnscetnens 1, 14, 19, 24, 26, 29, 30, 36

Rules

1. Fed. Ri Bankr, P) SOG Tet Seq. fivc.c..ci...ceccccevecwoutsoossesteonpeneansupsiatansanienrsoncensnimnenesosunayobobenzs 14
2. “Fed. Te. Bartaler, Ps BO02 3. clisie.pnaltivcsscndnnsascnopeapnithracdiiicsvasaapansbootovesh SeeeaetUeactencsettmppeepeneaes 3,4
3, PEGA BAM Pe BOOT a cccecs este ltesneseHhecsentiestceveieasdeceaccennsissionnsccrensecssasescagengiinbieesonpensanene 41
4. Fed. R. Bankr. P. 8009 ...........:cccsssesserscsssssssesconsssescsseessoscssuscceseressensesssnerseassesssssscosecsesones 46
5. Fed. R. Bankr. P. 8009(a) «........scssssscsccesceecssssessscesssosssssssersesenesassnsenssrscennscssuacsonssesanenosnes 14
6. Fed. Ri Bertktey Pe SOO9 Cd) area.) cate nesenssnaenerentonntasvationngyensceesenanensetingsesdsetecnenee 14, 22
F, “Fed, Re Beppe Ph! BOS a os ob tii cccae cas -wanss ovnepsmencanervncine rvasbowwesnnnsinsive chsh copnsnscduicetervey vane 11
8. Fed. Ri Banke P. 8013 (a)(1) bin. cciscceseccecsssarsscenroscssssssroassnecenasnessesnenseanegarsvemnnsineaceesecstesss 18
9. Fed. R. Bankr. P. .......ccscccccssreccssseccssseessnsrenssscesssccenscsccecssveneessneasssesanssseasanersessuseossooes passim
10. Fed. R. Bankr. P. 8015(a)(5) .......sscscscsscesssocseccesssssenscsesscesssseeasssesecsesnneansorersessonessecsssoenenes 40
11. Fed. R. Bankr. P. 8015(a)(6) .......cssscccsssssscssscssssenssesesescecentsssesersesscsensesssesseesssenasensseness 40
12. Fed. R. Bankr. P. 8015(a)(7)(B) ........ssssecsscsscescesorscvonsoorsvessessorsnnensansssnsnssebasessssessasocesoses 40
13. Fed. R. Bankr, P. 8015(g) .......sccssscncscescscserousssssssecssnsceersssersucnaesesseassuseceesarsecaseseserssensassers 40
14. Fed. R. Bankr. P. 8015(n) .........-c.ccccecersscesessrssscsscensscesceenesonsnsessscnsesseasenssoesassnessesoessersores 40
15. Fee. Fe; Poa APO B22 oc. iiivevces cncoventisocsooznansacdeacvenctebechvceintaeitenngubvohestinacnn sotvenseandtOeniien 39
16. Fed. R. Bankr. P. 9011 (D)(1-4) oo. teccseeseeesseteesrensesscsssnnssnsssesenseoeeseesnsonesoes 23, 39, 40
17, Fed. R. Batik, Po 9014 oiisccescccecaseccdasecsessensccesscsonnocunecnenestbuncanscdvetetenusocenseenseanatincsascetonee 15

viii

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 9 of 60

Peace ree eee neh O EE ORO RR OR EROS DO AEE REESE DOSNT SEED DDO EEO SO OEE EEEEDOES ESOS CEED

18. Fed. R. Bankr. P. 9014/12(h)(3)
19. Fed. R. Bankr. P. 9024
20. Fed. R. Civ. P. 41(a)(2)

Dt, ME RCP PROB) 5s doe on xa ceecwecegneagit -nacian baptgpbaromaseunanan eds dive gsSeasbenasancinctsqeeexanctavneansad 15, 16
29, SE TES Cane BH MA ier ceprcyeteeh dts sseensdhesuctadautreneqerruchuawnsasncneetagnsWvOnonrnenswaleeievewegreeesnatrss 16
23, Feeds Ie, EvichcRe ee 2) a csacses-onsaceecese-cececeovens i lasasrecsewslpsovsoneoasnedisacgoovesdsnndeenkeiennes 13, 24, 37
94, Ped, PicBy ile) «a cicessintieaxncuyssth sande cnoncanscangi adh sunessoansda seis Peibesdees liven shuokesssiyayevbins cles 37
25. Model Rules of Prof'l Conduct R. 3.3 .......cceccesscecesseceeseseeeesseeeessscosesenseeeessseeenenee 16, 39, 43
26. Model Rules of Prof'l Conduct R. 8.4 .o........cccccscssssescesesessereeccecsssssesessssesessueaeees 16, 39, 43
Constitutional Provisions
F.C S hinhs REN 2 woe icstn ces cvsivecn one Reet bean banoonnastld decensngnaumicitisn ais te Seep otelostyeensedareaadets passim
Other Authorities
1. Appx A and Appx B (Appellees! Stipulated Facts, DC Dkt. 19-4) ............... 12, 13, 19, 37
2. FINRA Certification (JSAR Dkt. 5-13, p. 48) 00... cesssccscsssrsereesteeneesseenetseeees 22, 25, 31
3. JSAR (Joint Stipulated Appellate Record, Bankr. Rule 8009(d)) ..........ssesesseeeeees passim
4, SEC Retesse S710 a. 17 C1999 ). aca cseccenssdeorchansnsdeccecarensendecdosveqesddtsovonnesnsdaaddecsessesgne 27

ix

(Part 18-OA) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 10 of 60

Rule 8014 IV: JURISDICTIONAL STATEMENT

A. Basis for the Bankruptcy Court’s Subject Matter Jurisdiction
1. Statutory Provisions Cited by the Bankruptcy Court

a) 28 U.S.C. § 1334: Commonly invoked by bankruptcy courts for
“original” jurisdiction over core proceedings under Title 11.
b) 28 U.S.C. § 157: Purports to refer Title 11 matters to a non—Arrticle III

bankruptcy tribunal.

2. Factual and Legal Grounds for Asserting the Bankruptcy Court’s Lack

of Article III Jurisdiction

a) The Bankruptcy Court, in In reGroup Management Corp.,
No. 03-93031 (Bankr. N.D. Ga.), purported to adjudicate controversies
arising from “predatory criminal usury” transactions (designated as
GX 1-4 and GX 5).

b) These so-called “convertible promissory notes,” forming the heart of
the purported claims by certain unregistered broker-dealers, were
criminally -usurious under federal law (18U.S.C. §§ 1951(a),

1961(6)(B), 1962(a}{d)) and New York Penal Law § 190.40.

1

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 11 of 60

c) Appellants contend that such “predatory criminal usury” matters—by
their criminal nature and constitutional import—fall outside the limited
jurisdiction authorized for a non—Article II] bankruptcy forum.

d) Consequently, the Bankruptcy Court’s orders dismissing the
Chapter 11 case (Dkt. 28) and entering subsequent rulings (including
Dkt. 256, 262, 267, 274, 275, 278, and 286, as well as JSAR Dkts. 5-7,
5-8, 5-9, and 5-10) were entered by an adjudicatory body lacking
essential Article III standing and constitutional authority to determine
or enforce the rights and liabilities founded upon such criminal usury

allegations.

B. Basis for the District Court’s Jurisdiction
1. Statutory Provisions
a) 28 U.S.C. § 158(a): Generally confers on the District Court appellate

jurisdiction over final orders of the Bankruptcy Court.

2. Present Jurisdictional Challenge

a) Although Appellants timely filed notices of appeal under

28 U.S.C. § 158(a), the District Court’s appellate jurisdiction is

2

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 12 of 60

necessarily premised upon the Bankruptcy Court having had at least
some arguable basis in law for entering the orders in question.

b) Because the Bankruptcy Court lacked the requisite constitutional
authority to adjudicate claims grounded in predatory criminal usury
(GX 14, GX 5), Appellants submit that the District Court likewise
lacks Article III jurisdiction to reach or determine the merits of those
same predatory criminal usury-based issues on appeal.

c) Put simply, no Article III jurisdiction can attach if the underlying
tribunal was powerless ab initio to hear or decide these criminal usury

controversies.

C. Filing Dates Demonstrating the Timeliness of the Appeal
1. Chronology of Key Events

a) On May 21, 2003, the Bankruptcy Court entered its Dismissal Order
(Dkt. 28), which purportedly disposed of the Chapter 11 case with
prejudice. Subsequent orders followed in October 2022 (Dkt. 256) and
December 2022 (Dkt. 274, 275, 278, and on January 27, 2025, (Dkt.

286).

3

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 13 of 60

b) Appellants filed a Notice of Appeal (Dkt. 279) in the Bankruptcy Court
on February 3, 2025, along with later amendments, designating these

final orders for appellate review.

2. Compliance with Fed. R. Bankr. P. 8002

a) The notices of appeal and amendments, Dkt. 289 (February 14, 2025),
and Dkt. 293 (February 26, 2025), were filed and served within the
deadlines authorized by Rule 8002, thus preserving the issues for
appellate consideration.

b) Notwithstanding timeliness, Appellants steadfastly maintain that the
District Court is constitutionally precluded from affirmatively
exercising merits review over a proceeding that was constitutionally

void at its inception.

D. Assertion That the Appeal Concerns Orders Final in Form but Void for Lack

of Article III Jurisdiction

1. Nature of Finality

a) The Bankruptcy Court’s orders dismissing the Debtor’s case, Dkt. 28,

and issuing related rulings on the supposed enforceability of the

4

(Part 18-OA) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 14 of 60

usurious notes (GX 1-4, GX5) are, in conventional bankruptcy
parlance, “final orders.”
b) Accordingly, on their face, these orders would be appealable under

28 U.S.C. § 158(a)(1).

2. Effect of Lack of Article III Jurisdiction

a) Appellants contend these orders must be declared null and void ab
initio, because a non—Article III tribunal cannot lawfully and validly
adjudicate, enforce and/or facilitate collection of predatory criminal
usury claims in violation of the federal and state racketeering and loan
sharking laws.

b) Consequently, the District Court, though nominally and normally
vested with appellate oversight, lacks Article III constitutional
authority to address any merits arising from the Bankruptcy Court’s
unauthorized rulings.

c) Hence, in this appeal, Appellants ask the Court to recognize the absence
of any valid Article III (standing) jurisdiction below and reverse or
vacate all orders on that threshold ground, without proceeding to a

merits review of the underlying usury claims.

5

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 15 of 60

Rule 8014 V: STATEMENT OF THE ISSUES PRESENTED ON

APPEAL

A. LIST OF APPELLATE ISSUES RAISED BY APPELLANTS.

1. Article III Jurisdiction. Whether the Bankruptcy Court possessed requisite
Article III subject-matter jurisdiction over claims and debts allegedly
grounded in predatory and criminally usurious transactions, as presented in
GX 1-4 and GX 5, and whether the Bankruptcy Court’s adjudication of such
disputes was constitutionally permissible.

. Recognition of Allegedly Usurious Claims. Whether the Bankruptcy Court
erred by permitting, recognizing, or enforcing Appellees’ claims in the
Chapter 11 case—claims alleged to arise from criminally usurious or
otherwise void loan transactions—despite substantial evidence and legal
precedents suggesting such debts cannot be enforced.

. Due Process and Evidentiary Hearing. Whether the Bankruptcy Court
deprived Appellants of due process by refusing to hold a dedicated evidentiary
hearing or otherwise investigate detailed allegations of fraud on the court,
perjury, and misconduct advanced by Appellants regarding the alleged
criminally usurious debts.

. Bad Faith Dismissal Under 11 U.S.C. § 1112(b). Whether the Bankruptcy

Court’s determination that the Debtor’s Chapter 11 filing was made in bad

6

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 16 of 60

faith, justifying a dismissal with prejudice, complied with the procedural and
substantive requirements of 11 U.S.C. § 1112(b), including whether the
court’s findings of fact or conclusions of law were insufficient or clearly
erroneous.

5. Bona Fide Dispute and Standing. Whether the Bankruptcy Court erred in
concluding there was no bona fide dispute over Appellees’ standing to enforce
the convertible notes or other debt instruments allegedly linked to criminal
usury, and whether it failed to apply the proper legal standard in assessing
good faith, enforceability, and standing.

6. Refusal to Vacate or Reopen the Dismissed Case. Whether the Bankruptcy
Court abused its discretion by declining to vacate the dismissal or reopen the
case in response to Appellants’ proffered newly discovered evidence, alleged
fraud on the court, or purported changes in controlling law that might have
invalidated Appellees’ usurious claims.

7. Scope of Statutory Authority. Whether the Bankruptcy Court exceeded its
statutory authority by issuing final orders on matters that, according to
Appellants, either fell under a prior federal judgment’s preclusive effect or
required specialized Article III adjudication due to the criminal nature of the

challenged debt obligations.

7

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 17 of 60

8. Denial of Meaningful Appellate Rights. Whether the Bankruptcy Court
deprived Appellants of a full and fair opportunity to assemble the record,
pursue appellate remedies, or present all claims of wrongdoing when it
allegedly denied or unduly restricted Appellants’ attempts to supplement the
record with further evidence of predatory criminal usury and fraud.

9. Preclusive Effects of Prior Federal Judgments. Whether the Bankruptcy
Court erred in neglecting or refusing to evaluate the effect of prior orders or ©
judgments—including a Rule 41(a)(2) final judgment in another federal
proceeding—that may have already extinguished or barred the claims asserted
by Appellees.

10.Miscarriage of Justice from Unaddressed IIlegalities. Whether the
Bankruptcy Court’s rulings collectively produced a miscarriage of justice—
particularly its failure to address the alleged lack of proper licensing, statutory
authority, or legal basis for Appellees to enforce contracts tainted by criminal
usury—necessitating reversal or remand on equitable or constitutional
grounds.

11.Misapplication of Criminal Usury Statutes. Whether the Bankruptcy Court

failed to apply or misapplied relevant federal or state criminal usury statutes

8

(Part 18-OA) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 18 of 60

(including any RICO implications), thus overlooking core illegality that
allegedly rendered the debts unenforceable or void ab initio.

12.Validity of Debt Instruments and Licensure. Whether the Bankruptcy
Court erred by concluding that the convertible notes and related financing
documents (GX 1-4, GX 5) were validly executed, perfected, and
enforceable, even though Appellants maintained that none of the noteholders
possessed the requisite broker-dealer licensure or other regulatory authority
to extend credit.

13.Failure to Sanction or Inquire into Perjury or Misrepresentation.
Whether the Barlctiptcy Court erred in declining to impose sanctions or
inquire into alleged perjury, false statements, or fraudulent representations by
Appellees and their counsel regarding the nature or legitimacy of the debts at
issue.

14.Unclean Hands and Collusion. Whether the Bankruptcy Court’s refusal to
examine alleged unclean hands or collusion among Appellees and third parties
prevented a full and fair adjudication of the Chapter 11 case, violating core
equitable principles.

15.Reliance on Erroneous Factual Findings. Whether the Bankruptcy Court’s

rulings improperly relied on or adopted earlier erroneous factual findings—

9

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 19 of 60

particularly with regard to the face amount, licensure status, or alleged
criminal usury aspects of the debts—thereby prejudicing the outcome.
16.Improper Extension or Recognition of Security Interests. Whether the
Bankruptcy Court’s validation or recognition of any liens, security interests,
or other claims secured by Appellees was authorized, given the alleged defects
in the underlying transactions, the absence of proper documentation, and
possible eBaeivenition of public policy against criminal usury.
17.Consistency with SDNY Proceedings and Orders. Whether the Bankruptcy
Court properly considered or incorrectly disregarded relevant rulings or
evidence from parallel or prior federal court actions (including those in the
Southern District of New York), thereby undermining or contradicting final
determinations already made in those proceedings and intensifying the

jurisdictional and substantive errors alleged by Appellants.

B. STANDARDS OF APPELLATE REVIEW
When reviewing a Bankruptcy Court’s rulings, the District Court employs three principal

standards of review depending on the nature of the issue on appeal: (1) de novo
review for conclusions of law and jurisdictional determinations; (2) clear-error
review for factual findings; and (3) abuse-of-discretion review for certain

discretionary or equitable decisions.

10

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 20 of 60

1. De Novo Review

Pure legal questions—such as whether the Bankruptcy Court possessed subject
matter jurisdiction to hear alleged criminal usury or RICO violations—are reviewed
de novo. In re JLJ Inc., 988 F.2d 1112, 1116 (11th Cir. 1993). Under this standard,
the reviewing court affords no deference to the Bankruptcy Court’s legal
conclusions. See also Ritzen Grp. v. Jackson Masonry, LLC, 140 S. Ct. 582, 589
(2020) (reviewing certain finality determinations de novo). Thus, with respect to the
purely legal challenges raised in the Joint Statement of Issues—such as subject
matter jurisdiction, statutory interpretation, or finality questions under Ritzen—this

Court will independently consider and decide those legal questions.

2. Clear-Error Review

Factual determinations made by the Bankruptcy Court are upheld unless they are
“clearly erroneous.” Fed. R. Bankr. P. 8013; Anderson v. Bessemer City, 470 U.S.
564, 573 (1985). A finding is clearly erroneous only when, after reviewing the entire
record, “the court is left with the definite and firm conviction that a mistake has been
committed.” Anderson, 470 U.S. at 573-74. Factual disputes in the underlying
bankruptcy—such as whether certain promissory notes carried unlawful interest
rates, or whether specific parties participated in a continuing racketeering

11

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 21 of 60

enterprise—are reviewed under this highly deferential standard. The reviewing court
does not reweigh evidence; it instead asks whether the record fairly supports the

factual determinations reached below.
3. Abuse-of-Discretion Review

Finally, if the Bankruptcy Court’s order involved a discretionary or equitable
decision—such as imposing or denying sanctions, approving a settlement, or
managing the progress of the case—the District Court applies the abuse-of-
discretion standard. In re Walker, 515 F.3d 1204, 1212 (11th Cir. 2008). Under
that standard, the Bankruptcy Court’s ruling will be affirmed unless it rests on a
clear error of judgment or applies the wrong legal standard. Walker confirms this
approach for areas in which the Bankruptcy Court necessarily exercises broad

equitable discretion, including decisions on sanctions, schedule management, or case

oversight.

Under these controlling principles of appellate review, legal questions—such
as jurisdiction or interpretations of statutory law—are examined afresh (de novo),

thereby assuring that Appellants’ positions receive thorough and independent

12

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 22 of 60

consideration. Factual findings! will be overturned if the record reveals a clear and
unmistakable error, safeguarding Appellants against any unfounded or inadequately
supported determinations. Lastly, in assessing the Bankruptcy Court’s discretionary
decisions, the District Court will set them aside if they rest upon an erroneous legal
standard or reflect act unreasonable application of the facts, preserving Appellants’

rights from any improper exercise of judicial discretion.

Rule 8014 VI: STATEMENT OF THE CASE

A. The Parties’ Joint Stipulated Dispositive Relevant Facts to the Issues

Submitted for Review

See Appx A and Appx B—Appellees on March 31, 2025, DC Dkt. 19-4
voluntarily and willfully agreed, consented, judicially admitted, and stipulated
dispositive factual stipulations that resolved all issues on appeal in favor of

Appellants.

I. PROCEDURAL POSTURE OF THE CASE

' See Appx A and Appx B—Appellees on March 31, 2025, DC Dkt. 19-4 voluntarily and willfully
agreed, consented, judicially admitted, and stipulated dispositive factual stipulations that resolved
all issues on appeal in favor of Appellants.

2 See JSAR Dkt. 5-13, 5-14, and 5-16 and Dkt. 9; Appx. A (The parties’ FRE 201(c)(2) joint
stipulated admissions, facts, and concessions); Appx B (same).

13

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 23 of 60

A. Initiation of the Appeal

On February 3, 2025, Appellants Ulysses T. Ware d/b/a and Group Management
(a sole proprietorship) filed a Notice of Appeal (Dkt. 279, Bankruptcy Case No. 03-
93031-BEM), which was docketed in the District Court on February 7, 2025,
commencing Case No. 25cv00613 before the United States District Court for the
Northern District of Georgia, Atlanta Division, the Hon. Michael L. Brown. The
appeal challenges multiple final orders entered in the 03-93031 Bankruptcy Court
(NDGA), [BC Dkt. 28, 256, 263, 267, 274, 275, and 286; JSAR Dkt. 5-7, 5-8, 5-9,
and 5-10] pursuant to Bankr. Rule 9014/12(h)(3) for lack of Article III subject
matter jurisdiction regarding Appellee Atlanta, GA law firm Kilpatrick, Townsend,
Stockton, LLP’s clients, predatory unregistered broker-dealers Hobbs Acct interstate
trafficking in predatory atime usury unlawful debts, GX 1-4, and GX 5, which are
indisputable null and void ab initio pursuant to NYS Penal Law, section 190.40, the

criminal usury law, a class E felony, and federal loan sharking and racketeering laws,

18 USC §§ 1951(a), 1961(6)(B), and 1962(a-d) including but not limited to:

1) The Order of Dismissal With Prejudice, entered on May 21, 2003, by Judge
Margaret H. Murphy (Dkt. 28 in Bankruptcy Case).
2) Subsequent orders entered on October 24, 2022, [BC Dkt. 256], and December

12, 2022, [BC Dkt. 274], December 13, 2022 [BC Dkt. 275], and others affecting

14

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 24 of 60

jurisdiction and substantive rights of the Appellants under Article III of the
United States Constitution and statutory rights under 11 U.S.C. §§ 541, 542, and

1109(b), and Rule 8001 et seq.

B. Designation of Record and Transmittal

Pursuant to Rule 8009(a) and (d), Appellants timely filed their Designation
of Record on Appeal and Statement of Issues. Appellants transmitted an initial and
amended Joint Stipulated Appellate Record (Dkt. 290—295) in compliance with Rule
8009(d). The record includes over 550 pages of underlying filings (see Dkt. 5-1 to
5-16, Dkt. 9) and demonstrates substantial factual and procedural complexities,
including motions under 11 U.S.C. §§ 1112(b), 105(a), and Rule 9014/12(h)(3) for

vacatur of void judgments.

C. Procedural Developments in the District Court
Following the docketing of the appeal:
1. On February 13, 2025, the District Court (Brown, J.) issued an Order (Dkt.
4) advising that appellant Group Management, a sole proprietorship, see 28
USC § 1654, must appear through counsel. This was reiterated in a March
10, 2025, Order (Dkt. 6), which subsequently dismissed Group Management

without prejudice for failure to obtain counsel.

15

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 25 of 60

2. Appellants contested this dismissal and filed a timely Rule 59(e) Motion to
Vacate (Dkt. 14-1, 14-3) supported by detailed memoranda of law (Dkt. 14-

4, 14-6) and declarations (Dkt. 14-7). The motion remains pending.

3. The District Clerk issued a Bankruptcy Appeal Briefing Schedule (Dkt. 10)
on March 17, 2025, setting the Appellants’ Brief due by April 16, 2025.

4. Appellants served formal Notice of Adverse Consequences to all Appellees
(Dkt. 7, 7-1), citing binding federal judgments (e.g., United Student Aid
Funds, Inc. v. Espinosa, 559 U.S. 260 (2010)) and asserting waiver of

defenses due to non-response.

a. Appellants filed multiple supplemental filings between March 18-26,
2025, including:

b) Request for Rule 3.3 and Rule 8.4 Show Cause Order (Dkt. 12) (pending).

c) Declaration of Undisputed Facts (Dkt. 15)

d) Supplemental Memoranda of Law on 18 U.S.C. §§ 1961-1964 RICO and
§ 2 Accessory Liability, including factual exposition of judicial fraud, insider
fiduciary status, and criminal usury loan schemes involving Appellees’ alter
egos (Dkt. 17-1 through 17-7)

e) On March 26, 2025, Appellants filed their Supplemental Memorandum

(Letter Brief) (Dkt. 18) in further support of the March 10 application for a

16

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 26 of 60

show cause order and appellate relief, incorporating specific Rule 59(e), Rule

60(b)(4), and Rule 9024 arguments. (pending).

D. Related Proceedings

The bankruptcy docket (Case No. 03-93031) reflects a complex and highly

contested history including:

1. Dismissal of the 03-93031 Chapter 11 case with prejudice on May 21, 2003
(Dkt. 28), rendering the Debtor ineligible to refile under Title 11 for 180 days.
(dismissed while the Bankruptcy Court lacked all Article III jurisdiction over
the predatory criminal usury subject matter, GX 1-4, and GX 5, referenced
and relief on in the UST?’s (Dkt. 5-1, 5-3) and KTS’ (Dkt. 5-2, 5-4, 5-5, and
5-6) judicial pleadings.

2. Multiple post-dismissal filings by Appellants asserting fraud on the court,
prosecutorial misconduct, and suppression of evidence in violation of Brady
v. Maryland, 373 U.S. 83 (1963) (see Dkt. 5-14 to 5-16) and other precedents
were filed in the Chapter 11 case, yet the merits of the issues were never
addressed by the Bankruptcy Court (Hagenau, C.J.).

3. Appellants have repeatedly invoked binding res judicata and claim preclusion

based on Judge Sand’s 02cv2219 (SDNY) voluntary December 20, 2007,

17

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 27 of 60

Final Judgment (Dkt. 90, 02cv2219 SDNY) under Fed. R. Civ. P. 41(a)(2),
and Judge Sand’s August 13, 2003, insider trading order (Dkt. 65)
establishing Appellees as fiduciary insiders subject to § 542 turnover
obligations exceeding $522 million in 15 USC § 78p(b) strict-liability short-

swing insider-trading profits.

E. 25cev00613 (NDGA) Appeal Status as of April 1, 2025.

1.

Appellants remain the only parties actively prosecuting or appearing in the
appeal. To date, no Appellee has entered an appearance or responded to the
appeal, despite actual service of all appellate filings and express advisories
regarding the consequences of default. Dkt. 7

Appellants continue to seek a status conference and hearing on pending
jurisdictional and remedial motions. Dkt. 12, Dkt. 14, and Parts 17-13
(Motion for restraining order and injunctive relief) (Pending).

The 25cv00613 (NDGA) appeal is not fully briefable as of today, April 6,
2025—that is, dispositive Article III standing and ripeness matters (see Dkt.
12, Dkt. 14), and Rule 8013(a)(1) motions (Parts 17-13, 17-16, 17-17, and 17-
18) have yet to be officially docketed as of today, April 6, 2025, and

accordingly the above pending dispositive jurisdictional issues have yet to be

18

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 28 of 60

ruled on by the District Court (Brown, J.) as of this date; Appellants’ principal

brief is due April 16, 2025, per Dkt. 10.

Rule 8014 VII: SUMMARY OF THE ARGUMENT

Appellants submit that the Bankruptcy Court’s rulings suffer from two
fundamental defects warranting reversal. First, the Bankruptcy Court lacked
constitutional authority under Article III to adjudicate claims asserting alleged rights
in “predatory criminal usury” debt instruments, GX 1-4, and GX 5. Appellees, who
claim an interest in these disputed predatory criminal usury convertible promissory
notes [JSAR Dkt. 5-2 5-4, 5-5, and 5-6; also see Dkt. 5-16, and Dkt. 9], never
established the “concrete injury in fact” to a “legally protected interest” required for
Article III standing. In particular, they failed to show any factual basis to
demonstrate that their purported claims—arising from facially predatory criminal
usury debts, legally unenforceable instruments—could invoke the subject matter
jurisdiction of the federal courts. Under Steel Co. v. Citizens for a Better
Environment, 523 U.S. 83 (1998), courts are obligated as a “threshold matter” to
confirm standing and ensure a valid case or controversy. Here, because Appellees’

allegations rested solely on questionable and unlawful convertible notes, no standing

19

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 29 of 60

existed. Id. at 94-95. Consequently, every order predicated on that purported

standing is void and must be reversed.

Second, even if jurisdiction had been established, it was not, has not, and is a
legal and factual impossibility [See Appx. A and Appx. B] the underlying predatory
criminal usury convertible promissory notes at issue, GX 1-4, were demonstrably
criminally usurious under New York Penal Law § 190.40, a class E felony, and
federal racketeering laws, including 18 U.S.C. §§ 1951(a), 1961(6)(B), and 1962.
These statutes prohibit “loan-sharking” transactions carrying illegally high interest
rates and impose severe criminal penalties for any entity that attempts to enforce
such debts. The predatory loan-sharking debts in question, which had the hallmarks
of a predatory lending sehertteehmged interest rates in excess of 2,000%, and were
originated by predatory unregistered broker-dealers [JSAR Dkt. 5-13 on page 48],
plainly fall within the ambit of these prohibitions. Because they, the predatory
criminal usury debts, GX 1-4, violated both state and federal criminal laws, they

cannot serve as a basis for any legitimate claim in a bankruptcy proceeding.

Third, the record is clear that Appellees invoked these unlawful debt
instruments as their sole basis to participate in Appellants’ Chapter 11 case [JSAR

Dkt. 5-2, 5-4, 5-5, and 5-6]. Appellants repeatedly objected to Appellees’ standing

20

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 30 of 60

in the Bankruptcy Court, citing official certifications from regulatory agencies
showing Appellees’ broker-dealer status was never validly recognized and
referencing the controlling statutory prohibitions. Appellants also raised
contemporaneous objections that any orders enforcing criminally usurious
agreements would contravene the mandatory prohibitions codified in Title 18 and
New York’s penal code. Despite these repeated jurisdictional and substantive
challenges, the Bankruptcy Court proceeded to adjudicate Appellees’ purported
rights and to dismiss Appellants’ reorganization efforts. [JSAR Dkt. 5-7, 5-8, 5-9,

and 5-10]

Fourth, because standing is a constitutional prerequisite that must be satisfied
before a court can move to the merits, every order that relied on Appellees’ claims
is fatally infirm. The bankruptcy court did not conduct the “affirmative
establishment” of subject matter jurisdiction demanded by Steel Co. The absence of
a thorough inquiry into whether Appellees possessed a concrete and particularized
injury—and whether their alleged debts were enforceable at all—meant that the
Bankruptcy Court ruled beyond its constitutional and statutory limits. Furthermore,
the Bankruptcy Court’s failure to address the unmistakably criminal character of
these debt instruments contravened longstanding jurisprudence refusing to enforce

obligations tainted by criminal usury and racketeering violations. [See JSAR Id.]

21

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 31 of 60

Finally, in light of these defects, the rulings under appeal [Dkt. 28, 256, 274,
275, 286; JSAR 5-7, 5-8, 5-9, and 5-10] must be reversed. This Court should hold,
first, that no Article III jurisdiction existed over Appellees’ claims, rendering any
bankruptcy orders in their favor void ab initio. Alternatively, even if standing were
presumed, the Bankruptcy Court erred by allowing enforcement and predatory
unlawful debt collection activities [JSAR Dkt. 5-1 to 5-6] proceedings on predatory
criminal usury debts, GX 1-4, and GX 5, that were criminally usurious under both
federal and state law. Either way, reversal is compelled. Under well-settled
precedent, courts may not grant relief to parties who fail to demonstrate standing or

rely on criminally unenforceable debts. Steel Co., Id. at 94-95.

Consequently, all orders purporting to legitimize or enforce these predatory
obligations in Appellants’ Chapter 11 case must be reversed, vacated, set aside, and
annulled, nunc pro tunc, March 18, 2003, and the matter remanded for further
proceedings consistent with constitutional principles and the controlling federal and

state law prohibitions on criminally usurious transactions.

Rule 8014 VIII: ARGUMENT

Part I: “THRESHOLD” ARTICLE III JURISDICTIONAL
ISSUES.

22

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 32 of 60

1. APPELLEES LACK ARTICLE III STANDING TO PARTICIPATE IN THIS
APPEAL, REQUIRING DISMISSAL OF THEIR PARTICIPATION AND
REVERSAL OF ANY UNDERLYING ORDERS PREDICATED ON THEIR
PURPORTED CLAIMS.

APPELLANTS’ JURISDICTIONAL OPENING STATEMENT

Appellants’ Rule 8014 appeal brief first, fundamentally, challenges the 03-
93031 Chapter 11 Bankruptcy Court’s and the SDNY 02cv2219 lawsuit’s District
Court’s Article III constitutional subject matter jurisdiction (the Article III standing
of Appellees, May 17, 2021, FINRA certified unregistered broker-dealers’ [see
JSAR Dkt. 5-13 on page 48])* over the Predatory Criminal Usury Subject Matter,
GX 1-4, and GX 5 [see JSAR Dkt. 5-3, 5-4, 5-5, 5-5, 5-6, 5-7, 5-8, 5-9, and 5-10],
and is therefore in compliance with Steel Co.’s directive bifurcated into two parts—
(i) Part I, infra, an Article III “threshold” jurisdictional analysis and assessment, and
(ii) Part II, infra, a merits issues assessment and analysis, as required by the Court’s
decision in Steel Co. v. Citizens for a Better Environment, 523 U.S. 83 (1981): (1)

“first” as a “threshold” matter before proceedings to the merit issues raised on

3 Federal securities law, 15 USC §§ 780(a)(1) in pari materia with 78cc(b), rendered the Predatory
Criminal Usury Debt Instruments, GX 1-4, and GX 5, null and void ab initio to all rights of the
predatory unregistered broker-dealers to enforce and/or attempt 18 USC 1961(6)(B) criminal
usury unlawful debt collection activities in regard to the 02cv2219 (SDNY) lawsuit, by
fraudulently appearing in the 03-93031 Chapter 11 [JSAR Dkt. 5-1 to Dkt. 5-6], or by fraudulently

attempting to appear in this 25cv00613 (NDGA) appeal.

4“JSAR” is the Appellants’ and the Appellees’ Bankr. Rule 8009(d) Joint Stipulated Appellate
Record before the District Court on this appeal.

23

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 33 of 60

appeal (discussed in Part II, infra) the District Court is required and mandated by
Steel Co., Id. at 93-95, to “first” “affirmatively establish” (not presume) its Article

III constitutional jurisdiction over the Predatory Criminal Usury Subject Matter, GX

1-4, and GX 5 (No: a legal impossibility); (2) then before proceeding to the merits

issues discussed in Part II, infra,, the District Court is required to affirmatively

determine (not assume) whether the courts from which the record [JSAR] comes

from, 02cv2219 (SDNY) and 03-93031 BC NDGA), had lawful Article III
jurisdiction over the Bivaniae Criminal Usury Subject Matter, GX 1-4, and GX 5.
(No). Id.°

As a matter of law this ends the District Court’s lawful authority over the
appeal’s merits issues raised in Part II, infra, for lack of Article III subject matter
jurisdiction over the Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5,

Steel Co., 1d. at 94-95; NYS Penal Law, § 190.40; 18 USC §§ 1951(a), 1961(6)(B),

> Ipso facto as a matter of law and fact, the Appellees and their privies pursuant to their Dec. 20,
2007, voluntary Fed. R. civ. P. 41(a)(2) dismissal with prejudice of the underlying 02cv2219
(SDNY) lawsuit, and the late District Judge Leonard B. Sand’s entry of final judgment [JSAR Dkt.
5-13 on pages 46-47] in favor of Appellants Group Management and Ulysses T. Ware, the
Appellees herein and their privies terminated their status as viable concrete, adverse Article III
‘real parties in interest’ with respect to all aspects of the 02cv2219 (SDNY) lawsuit, and by
extension all aspects of the 03-9303 1 BC NDGA) Chapter 11 risible, baseless, bad faith, vexatious,
filed for an improper purpose, and fraudulent claims [see JSAR Dkt. 5-1 to 5-6], cf., Bankr. Rule
9011(b)(1-4), and 28 USC § 1927, which rendered 02cv2219 (SDNY orders, judgments, and
proceedings therein annulled and vitiated as of Dec. 20, 2007; and rendered 03-93031 moot and
void ab initio, A.B. Dick Co. v. Marr, 197 F.2d 498, 501-02 (2d Cir. 1952).

24

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 34 of 60

and 1961(a-d), cf., United States v. Grote, 961 F.3d 105, 109-119 (2d Cir. 2020)
(Aff'd criminal conviction, criminal sentence, and criminal +$3.5 billion RICO

forfeiture judgment for unlawful debt collection activities).

Introduction, Analysis, and Discussion:
A. The Constitutional Imperative of Standing and Appellees' Abject and

Total Failure to Meet This Threshold Requirement.’

This appeal is fundamentally and irreparably tainted and corrupted by the
unlawful, deceptive, vexatious, for an improper purpose, fraudulent, and deceitful
participation of putative parties — Appellees herein, who (i) appeared in the 03-9303 1

Chapter 11 [JSAR Dkt. 5-2], (11) and/or are the original plaintiffs from the Dec. 20,

6 On March 31, 2025, JSAR DC Dkt. 19-4 (Appellees’ Stipulated Jurisdictional Facts), Appellees
and their privies voluntarily and deliberately made the strategic litigation decision and stipulated
that they and their privies factually lacked Article III standing in the underlying 02cv2219 (SDNY)
lawsuit, and Article III standing to have appeared and participated in the 03-9303 1 Chapter 11 [see
JSAR Dkt. 5-1 to 5-6]. A voluntary and conclusive stipulation of the Appellees, which the District
Court is required to take FRE 201(c)(2) judicial notice thereof, and accordingly required to enter
final judgment against all Appellees, and their privies—that is, Appellees have factually and have
judicially admitted, conceded, and stipulated to not being viable Article III concrete, adverse real
parties in interest in this 25cv00613 (NDGA) appeal, in the 03-93031 Chapter 11, and in the SDNY
02cv2219 lawsuit. See PPX Enterprises, Inc. v. Audiofidelity, Inc., 746 F.2d 120, 123 (2d Cir.
1984) quoting Stanley Works, v. FTC, 469 F.2d 198, 506 (2d Cir. 1972) (“Having agreed on a set
of facts [see DC Dkt. 19-4, the Appellants’ and Appellees’ joint stipulations], the parties, and this
[25cv00613] Court, must be bound by them; we are not free to pick and choose at will.”).
(emphasis added).

7 See Id. n. 6, supra.

25

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 35 of 60

2007, [JSAR Dkt.. 5-13 on pages 46-47] Fed. R. Civ. P. 41(a)(2) final judgment
voluntarily dismissed with prejudice and annulled 02cv2219 (S.D.N.Y.) litigation
or (iii) stand in privity with them — who demonstrably lack the constitutional
prerequisite of Article III standing. The United States Constitution limits the
jurisdiction of all federal courts to actual "Cases" and "Controversies." U.S. Const.
art. III, § 2. An indispensable component of this limitation is the doctrine of standing,
which ensures that federal courts adjudicate only concrete disputes brought by
adverse, real parties in interest, legally viable Article III parties’ who have suffered
a cognizable, particularized injury in fact fairly traceable to the defendant's conduct
and likely to be redressed by a favorable decision. Lujan v. Defenders of Wildlife,
504 U.S. 555, 560-61 (1992). Standing is not a mere pleading requirement but an
"irreducible constitutional minimum," id. at 560, and its absence deprives a federal
court of subject matter jurisdiction. Steel Co. v. Citizens for a Better Env't, 523 US.
83, 94-95 (1998) ("Without jurisdiction the court cannot proceed at all in any

cause.").

8 Appellees and their privies as FINRA certified unregistered broker-dealers [JSAR Dkt. 5-13 on
page 48] as a matter of law and fact are not viable, adverse, concrete Article II real parties in
interest having Article III standing to enforce, and/or engage in predatory loan sharking and
unlawful debt collection activities, 18 USC §§ 1951(a), 1961(6)(B), 1962(a-d), and 1964(c), in the
United States federal [JSAR Dkt. 5-1 to 5-10, and Dkt. 9] or Georgia state courts [see JSAR Dkt.
5-13 on pages 40-41].

26

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 36 of 60

Appellees, attempting to resurrect claims predicated on predatory, criminally
usurious, and legally void ab initio debt instruments (GX 1-4, GX 5), NYS Penal
Law, § 190.40, a class E felony, which were voluntarily dismissed with prejudice
nearly two decades ago in Alpha Capital AG v. Group Management Corp., No.

02cv2219 (S.D.N.Y.) (the "2007 Final Judgment": JSAR Dkt. 5-13 on pages 46-

47]), utterly fail to satisfy any element of the Article III standing requirement.

Their purported injury stems not from any unlawful conduct by Appellants, but from

the inherent illegality and legal nullity of their own predatory instruments, GX 1-

4, and GX_5, and their strategic, voluntary Rule 41(a)(2) Dec. 20, 2007,

abandonment of their risible claims [see JSAR Dkt. 5-13 on pages 46-47]—1that is,

a self-inflicted non-cognizable injury not in the scope of Article II standing,

Clapper v. Amnesty Int'l, USA, 568 U.S. 398 (2013).

As meticulously detailed below, Appellees have not in the SDNY 02cv2219
litigation, not in the Bankruptcy Court (03-93031), and have not and cannot in this

appeal legally or factually demonstrate a particularized, concrete injury in fact to a

legally protected interest in the predatory criminal usury null and void ab initio

subject matter, GX 1-4, and GX 5, cannot establish causation traceable to any
unlawful conduct by Appellants, and cannot show that any conceivable judicial relief

could lawfully redress—permit collection or enforcement of the predatory criminal

27

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 37 of 60

usury subject matter, GX 1-4, and GX 5, with respect to their purported grievance.
*Consequently, their participation in this appeal, in the 03-93031 Chapter 11
Bankruptcy Court, and in the 02cv2219 (SDNY) civil litigation is constitutionally
impermissible, and any orders, judgment, or other rulings entered by the SDNY
02cv2219 district court (Sand, J.) (deceased), the Atlanta 03-93031 Bankruptcy
Court [BC Dkt. 28; and JSAR Dkt. 5-7, 5-8, 5-9, and 5-10], or this Court
(25cv00613) predicated upon Appellees moot, baseless, and criminal claims—
Hobbs Act 18 USC §§ 1951(a), 1961(6)(B), and 1962(a-d) unlawful debt collection
claims [see JSAR Dkt. 5-1 to 5-6] must be reversed, vacated, set aside, and annulled
nunc pro tunc March 18, 2003, for lack of Article III constitutional subject matter

jurisdiction over the Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5.

° Appellees risibly and incredibly claimed in the SDNY 02cv2219 lawsuit [JSAR Dkt. 5-13 on
pages 52 to 53] and also in the 03-93031 Chapter 11 [JSAR Dkt. 5-1 to 5-6] they were somehow
aggrieved and suffered a particularized, concrete injury in fact, to a legally protected interest in the
predatory Criminal Usury Unlawful Debts, GX 1-4, and GX 5— Id. Dkt. 5-5] that is, they claimed
they were allegedly inured by Appellants’ lawful conduct in refusing to aid, abet, enable, and/or
facilitate their Hobbs Act predatory loan sharking criminal enterprise’s dangerous and potentially
deadly extortion attempts to extort Appellant Group Management and Ware out of +$522 million
in free-trading securities and enable an illegal public offering to sell the unregistered securities in
the public markets of the United States, by unregistered broker-dealer, to collect the predatory
criminal usury unlawful debts, GX 1-4, in violation of the criminal federal loan sharking and
racketeering laws, 18 USC 1951(a), 1961(6)(B), and 1962(a-d); and federal securities laws, 15
USC §§ 77d, 77e, 77x, 780(a)(1), 78ff, and SEC Release 33-7190 n. 17 (1995). That is what the
Appellees, their agents, privies, proxies, surrogates, alter-egos, and all those in active concert
therewith, a predatory illegal association in fact as defined in 18 USC § 1961(4), a predatory
continuing criminal enterprise, with a straight face have claimed in the underlying proceedings,
and will claim in this appeal if permitted to participate.

28

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 38 of 60

B. Governing Law: The Rigorous Requirements of Article III Standing

The Supreme Court has consistently enforced the strictures of Article III
standing. To invoke federal jurisdiction, a plaintiff (or, in this appellate context, an
Appellee asserting a grievance) "must have (1) suffered an injury in fact, (2) that is
fairly traceable to the challenged conduct of the defendant, and (3) that is likely to
be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330,
338 (2016) (citing Lujan, 504 U.S. at 560-61). The party [Appellees herein]
invoking federal jurisdiction [see JSAR Dkt. 5-1 to Dkt. 5-6 (Appellees as

petitioners); see 02cv2219 (SDNY) lawsuit (Appellees as plaintiffs)] bears the

burden of establishing these elements. Lujan, 504 U.S. at 561.

1. Injury in Fact: The Appellees’ herein alleged injury must be "an invasion of

a legally protected interest which is (a) concrete and particularized, and (b)
actual or imminent, not conjectural or hypothetical." Jd. at 560 (internal
quotation marks and citations omitted). Appellees’ alleged "legally protected
interest" with respect to the specific Predatory Criminal Usury Unlawful Debt

Subject Matter, GX 1-4, and GX 5, requires a_cognizable lawful_right

recognized under statutory, constitutional, or common law. Jd. at 560-61.'°

10 Tt is axiomatic and beyond rational dispute that Appellees nor their privies, agents, proxies,
surrogates, alter-egos, nor all those in active concert therewith, have not and as a matter of law and
fact cannot (a legal and factual impossibility) establish any “legally protected right or interest” in

29

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 39 of 60

Furthermore, threatened injury must be "certainly impending" to constitute
injury in fact; mere "[a]llegations of possible future injury are not sufficient."
Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409 (2013) (emphasis in
original). Crucially, parties "cannot manufacture standing merely by inflicting
harm on themselves based on their fears of hypothetical future harm." Jd. at
416.

2. Causation: The injury must be "fairly traceable" to the defendant's challenged
unlawful conduct, not the result of the independent action of the plaintiff or a
third party. Lujan, 504 U.S. at 560; Simon v. Eastern Ky. Welfare Rights Org.,
426 U.S. 26, 41-42 (1976).

3. Redressability: It must be "likely," as opposed to merely "speculative," that
the alleged injury will be lawfully redressed by a favorable court decision.
Lujan, 504 U.S. at 561. If the [Appellees’] requested relief [see JSAR Dkt. 5-

1 to 5-6] cannot lawfully remedy the alleged harm, standing is absent.

the null and void ab initio predatory criminal usury subject matter, GX 1-4, and GX 5, cf., NYS
Penal Law, § 190.40, the criminal usury law, a class E felony, within the scope of Article III
standing to lawfully enforce and/or undertake collection activities [see JSAR Dkt. 5-1 to Dkt. 5-
10, and Dkt. 9] in violation of the Hobbs Act, 18 USC §§ 1951(a), 18 USC 1961(6)(B), 1962(a-
d), and 1964(c), the federal racketeering and loan sharking laws and Id. §§ 152 and 157, the federal
bankruptcy laws.

30

(Part 18-O0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 40 of 60

C. Appellees Categorically Fail to Establish Any Element of Article III Standing

Applying these rigorous standards, Appellees' attempt to assert standing in

this appeal collapses entirely.

a) Appellees Have Suffered No Cognizable "Injury in Fact" to a "Legally
Protected Interest."

b) Appellees' core grievance — their inability to enforce or collect on the
Predatory Criminal Usury Subject Matter Instruments (GX 1-4, GX 5) — does
not constitute an injury to a legally protected interest as required by Lujan.

c) Absence of a "Legally Protected Interest" Due to Voidness
Ab Initio:

The instruments themselves are nullities, incapable of conferring any

legally protected rights.

D. GX 1-4, and GX 5 are Null and Void Ab initio Predatory Criminal Usury Subject

Matter Under New York Law:

GX 1-4 are demonstrably void ab initio under New York Penal Law § 190.40,
carrying interest rates vastly exceeding the criminal usury threshold (+2000%).
Instruments void from inception cannot create a legally protected interest susceptible
to injury. See Adar Bays, LLC v. GeneSYS ID, Inc., 28 F.4th 379, 383-84 (2d Cir.

2022) (recognizing that criminally usurious notes can be nullified). The inability to
31

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 41 of 60

enforce an instrument that is legally void and criminally proscribed is not an invasion

of a legally protected interest.

Federal Securities Law Violations (Unregistered Broker-Dealers):

Appellees (the 02cv2219 Plaintiffs) acted as unregistered broker-dealers in
connection with these instruments, a violation of 15 U.S.C. § 780(a)(1). Pursuant to
15 U.S.C. § 78cc(b), contracts made in violation of this chapter are void as regards
the rights of the violating party. This federal statutory voidness provides an
independent basis for concluding Appellees possess no legally protected interest in
GX 1-4 or GX 5. [See Joint Stipulated Appellate Record, Dkt. 5-13, p. 48 (FINRA

certification)].

Absence of a "Legally Protected Interest" Due to Res Judicata:

The 2007 Final Judgment, voluntarily sought by Appellees and dismissing
their claims with prejudice, extinguished any conceivable legal interest or claim they
might have arguably possessed related to GX 1-4 and GX 5. Res judicata operates
to eliminate the underlying cause of action entirely. Federated Dep’t Stores, 452
USS. at 398. Appellees cannot suffer a cognizable injury regarding rights that were

legally extinguished by a final judgment they themselves procured.

32

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 42 of 60

a) Injury is Not Concrete, Actual, or Imminent, but Speculative and Self-
Inflicted (Clapper Analysis): Any alleged harm is not "concrete" or "actual."
It rests on the speculative and legally impossible contingency that a federal
court would somehow validate and enforce void, criminally usurious, and
previously dismissed claims. Clapper squarely rejects standing based on such
attenuated possibilities. 568 U.S. at 409.

b) More fundamentally, any harm Appellees claim is self-inflicted. They suffer
not from Appellants' lawful conduct, but from the direct consequences of: (1)
their own decision to engage in predatory, criminally usurious lending; (2)
their own failure to comply with federal broker-dealer registration
requirements; and (3) their own strategic, voluntary decision to dismiss their
02cv2219 claims with prejudice after the limitations period expired. As
Clapper commands, parties "cannot manufacture standing merely by
inflicting harm on themselves." Jd. at 416. Their current predicament is
entirely of their own making, stemming from their unlawful actions and
strategic litigation choices, not from any injury cognizable under Article III.

1. Appellees Cannot Establish Causation Traceable to Appellants' Lawful
Conduct.

33

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 43 of 60

Even if a cognizable injury existed (which it does not), Appellees cannot
satisfy the causation element. The injury must be "fairly traceable" to the

unlawful conduct of the defendant. Lujan, 504 U.S. at 560.

a) Appellants' Conduct Was Lawful: Appellants' actions — refusing to
make payments on void and criminally usurious debts, challenging their
enforcement in court, refusing to facilitate further securities law
violations by issuing bogus Rule 144(k) opinions, and asserting the
defense of res judicata — are entirely lawful and, indeed, legally
required. Compliance with state criminal usury laws, federal securities
and racketeering laws, and the assertion of valid legal defenses like res
judicata cannot constitute the "unlawful conduct" necessary for Article
III causation.

b) Injury Traceable Only to Appellees’ Own Unlawful Actions and the
Instruments' Illegality: Any alleged harm is directly and solely
traceable to Appellees' own unlawful conduct (predatory lending,
unregistered broker-dealer activity) and the inherent legal defects
(voidness ab initio, criminal usury, dismissal with prejudice) rendering

the instruments unenforceable. There is no causal link between

34

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 44 of 60

Appellants’ lawful resistance and any cognizable injury suffered by

Appellees.

2. Appellees' Purported Injury is Not Redressable by a Favorable Judicial
Decision.

Finally, Appellees fail the redressability prong. It must be "likely" that a
favorable court decision will redress the alleged injury. Lujan, 504 U.S. at

561.

a) Legal Impossibility of Relief: No federal court possesses the authority
to grant the relief Appellees implicitly seek — the enforcement or
validation of claims predicated on the void, criminally usurious, and
previously dismissed Predatory Criminal Usury Subject Matter
Instruments. Granting such relief would require this Court to disregard
New York criminal law, federal securities and racketeering laws, and
the binding effect of the 2007 Final Judgment under the doctrine of res
judicata. Such an action is legally impossible and would constitute a
violation of public policy and the rule of law.

b) Voidness and Preclusion Render Relief Futile: Because the
underlying instruments are void ab initio and any claims related thereto
are barred by res judicata, no judicial decree can lawfully "redress" the

35

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 45 of 60

inability to collect on them. The "injury" is inherently unredressable by

lawful judicial means.

E. Steel Co. Mandates Dismissal for Lack of Threshold Jurisdiction.

The Supreme Court's mandate in Stee/ Co. is unequivocal: federal courts must
establish jurisdiction, including standing, as a threshold matter before proceeding to
the merits. 523 U.S. at 94 ("The requirement that jurisdiction be established as a
threshold matter... is inflexible and without exception."). Appellees' manifest lack of
Article III standing is not merely a defense on the merits; it is a fundamental
jurisdictional defect that divests this Court of the power to hear their arguments or
grant them any relief in this appeal. Hypothesizing jurisdiction to reach the merits is
constitutionally forbidden. Jd. at 94-95. This Court must, therefore, address
Appellees' lack of standing first and dismiss their participation in this appeal

accordingly.

F. Conclusion: Appellees Are Improper Parties Lacking Constitutional
Standing.

Appellees, as privies of the 02cv2219 plaintiffs, stand before this Court devoid
of the irreducible constitutional minimum of Article III standing. They have suffered
no concrete, particularized injury to a legally protected interest; any alleged harm is

speculative, self-inflicted, and traceable only to their own unlawful conduct and the

36

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 46 of 60

inherent nullity of their claims; and their purported injury is utterly unredressable by
any lawful judicial decree. Their continued participation in this appeal constitutes a
vexatious collateral attack on the 2007 Final Judgment and an impermissible burden
on Appellants and this Court. Pursuant to Lujan, Steel Co., and Clapper, this Court
lacks subject matter jurisdiction over Appellees’ purported claims and arguments,
requiring the dismissal of their participation in this appeal and the vacatur of any
underlying Bankruptcy Court orders predicated upon their constitutionally infirm

presence.

Part II: MERIT ISSUES RAISED BY APPELLANTS."

1. APPELLEES’ (PREDATORY UNREGISTERED BROKER-DEALERS)
CONVERTIBLE PROMISSORY NOTES, GX 1-4, AND GX 5, ARE NULL
AND VOID AB INITIO, UNENFORCEABLE, UNCOLLECTIBLE,
PREDATORY CRIMINAL USURY UNLAWFUL DEBTS THAT
VIOLATED NYS PENAL LAW, § 190.40, A CLASS E FELONY; AND
VIOLATED THE FEDERAL RACKETEERING AND LOAN SHARKING
CRIMINAL LAWS, 18 USC §§ 1951(a), 1961(6)(B), 1962(a-d), and 1964(c).

The Bankruptcy Court erred as a matter of law and fact in ruling [BC Dkt. 28;
274, 275; JSAR Dkt. 5-7, 5-8, 5-9, and 5-10] that the Predatory Criminal Usury
Subject Matter, GX 1-4, and GX 5, are not null and void ab initio, uncollectible,
unenforceable, and the Appellees’ attempts to enforce, and/or facilitate the predatory

unlawful debt )GX 1-4, and GX 5) collection thereof, [JSAR Dkt. 5-1 to 5-6] did not

37

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 47 of 60

constitute racketeering loansharking, unlawful debt collection activities in criminal

violation of the above federal and state statutes.

Introduction, Analysis, and Discussion.

OPENING STATEMENT

On March 31, 2025, [DC Dkt. 19-4; Appx A, and Appx. B], the Appellants
and the Appellees jointly stipulated, agreed, and approved binding, dispositive, and
conclusive factual stipulations that resolved all merit issues raised by Appellants in
this 25cv00613 appeal [JSAR 5-13 on pages 6 to 23]. Accordingly, Appellants
hereby request pursuant to FRE 201(c)(2) and provide the necessary information,
[see Appx. A, and Appx B], (i) that the District Court take judicial notice of the
dispositive factual stipulations of the Appellants and Appellees, which resolved all
outstanding appellate Article III standing and merit issues in favor of the
Appellants'?, and (ii) pursuant to FRE 201(e) Appellants respectfully request that
the District Court schedule the mandatory hearing on Appellants’ facts and

stipulations.

'2 The Appellants expressly reserve and give notice of their right to amend, supplement, or modify their
Rule 8014 25cv00613 appeal brief pending the District Court’s required FRE 201(c)(2) taking judicial
notice of the parties’ factual stipulations, judicial admissions, and concessions.

38

(Part 18-OA) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 48 of 60

The appellate record [DC Dkt. 19-4; see also Appx A, and Appx B attached
hereto] shows that on March 31, 2025, the Appellants and Appellees knowingly and
willingly entered into binding, dispositive, and conclusive factual stipulations
which resolved in favor of Appellants all issues raised in this appeal, [JSAR Dkt.
5-13 on pages 6 to 23], which disposed of and irrevocably terminated any extant,
live Article III concrete, adverse, factual controversy between the parties herein and
their privies apropos Appellants’ appeal issues. Thus, lacking viable, concrete,
adverse Appellees in this cause, and lacking an extant Article III factual controversy
between the Appellants and the Appellees herein apropos all issues to be raised on
appeal, the District Court is without a live case or controversy to adjudicate—that
is, by binding factual stipulations, judicial admissions, and concessions the
Appellees and their privies conceded, and stipulated all previously disputed facts are

to be resolved in favor of Appellants’ legal positions and arguments. Steel Co., Id.

at 94-95.

Rule 8014 IX. Conclusion and Precise Relief Sought

1. Accordingly, applying the holding in Steel Co., 523 U.S. at 93-95, a live

Article III controversy does not exist between the parties regarding all issues

39

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 49 of 60

raised on this appeal; requiring the District Court to undertake the following
reliefs:

A. Notice the fact, dismiss the cause [the 25cv00613 appeal],

B. withdraw the 03-93031 reference to the Bankruptcy Court;

C. enter an order that reverses, vacates, set aside, vitiates, and annuls, nun
pro tunc, March 18, 2003, all orders, proceedings, and judgments
entered in 03-93031;

D. reopen and reinstate 03-93031 Chapter 11;

E. enter an order directing the Appellees and their privies, agents, proxies,
surrogates, alter-egos, and all those in active concert therewith, to turn
over to the Clerk of the Bankruptcy Court, $522 million in 15 USC
78p(b) strict-liability short-swing profits for administration to the
creditor,

F. enter a restraining order and injunction enjoying the Appellees, their
privies, agents, proxies, surrogates, and alter-egos from appearing in
the District Court in regard fo the 03-93031 and derivative matter with
respect to the Predatory Criminal Usury Subject Matter, GX 1-4, and

GX 5,

40

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 50 of 60

G. set this matter down for a court-supervised Rule 3.3 and 8.4 duty of
candor and professional responsibility sanctioning proceedings,

H. enter the Consent, Stipulated Final Money Judgment for Appellants in
the sum certain amount of $5.2225 billion, against each Appellee, and
their privies, jointly, severally, individually, and personally;

I. set the matter down for Rule 9011(b)(1-4), 28 USC 1927, and the
Court’s inherent power to conduct sanctioning proceedings,

J. entry of a show cause order, given DC Dkt. 19-4 stipulated facts,
directed to all attorney-Appellees to show cause why each shall not be
enjoined and restrained from appearing and practicing in the District
Court (NDGA) or any other United States federal court for a period of
five (5) years, and (ii) why each shall not be fined as a monetary
sanction the sum certain amount of $125,000,000.00 jointly, severally,
individually, and personally for violations of Rule 11(b)(1-4), 28 USC
§ 1927, and the court inherent powers,

K. order all Appellees to turn over to the Appellants all insurance

information required by Rule 26(a)(1)(A)(iv)

41

(Part 18-OA) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 51 of 60

Rule 8014 X: Certificate of Compliance

Pursuant to Rule 8015(h) of the Federal Rules of Bankruptcy Procedure, the

undersigned hereby certifies:

1. This brief complies with the type-volume limitation of Rule 8015(a)(7)(B)
because it contains 9, 068 words, excluding the parts of the brief exempted
by Rule 8015(g), as determined by the word count function of the word-
processing software used to prepare this document.

2. This brief complies with the typeface requirements of Rule 8015(a)(5) and the
type-style requirements of Rule 8015(a)(6) because it has been prepared using
a proportionally spaced typeface in Times New Roman, 14-point font.

RULE 8014 XI: ADDITIONAL CONSIDERATIONS FOR THIS
APPEAL

Appellants, Ulysses T. Ware and Group Management (the “Debtor’’),
respectfully submit these supplementary points to amplify the issues on appeal and
to confirm the scope of relief sought under Rule 8014 of the Federal Rules of
Bankruptcy Procedure. This section is integral to explaining how factual realities
and the controlling legal framework mandate reversal or, in the alternative,

comprehensive remand of the Bankruptcy Court’s rulings.

42

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 52 of 60

A. Potential Protective or Injunctive Relief

Appellants are entitled to seek protective measures or injunctive relief in the
event that, without such intervention, the status quo would be irreversibly disturbed

during the pendency of this appeal. Specifically:

1. Stay of Enforcement Under Fed. R. Bankr. P. 8007: Appellants may apply
for a stay of enforcement of any orders below that adversely affect the
Debtor’s property, ongoing business interests, or ability to realize value for
creditors. The Bankruptcy Court’s contested rulings—if executed—have
already irreparably hindered the Debtor’s reorganization efforts or effectively
nullify the relief Appellants seek on appeal.

2. Likelihood of Success and Balance of Equities: In this Circuit, courts weigh
(a) the movant’s likelihood of success on the merits; (b) the prospect of
irreparable harm absent injunctive relief; (c) potential harm to other parties;
and (d) the public interest. Here, Appellants have consistently demonstrated
that the underlying predatory criminal usury debts, GX 1-4—which they
assert are criminally usurious and unenforceable—posed a grave threat to the
Debtor’s estate, and that irreparable harm has already occurred if enforcement

is not stayed.

43

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 53 of 60

3. Preservation of Core Appellate Issues: Because one of the chief questions
on appeal involves whether the Bankruptcy Court erroneously sanctioned or
validated predatory criminal usury unlawful debt obligations, allowing
continued enforcement would subvert the appellate process. The preservation

of any right to challenge the validity of these instruments remains paramount.

B. References to Predatory Usury and Voided Debt Instruments

Central to Appellants’ position is the assertion that certain promissory notes
and convertible debt instruments—purportedly held by parties such as Alpha
Capital, AG, and its affiliated entities—are predatory criminally usurious or

otherwise illegal. The record is replete with evidence that:

1. Exorbitant Interest Rates and Criminal Usury: Multiple instruments, GX
1-4, carried interest rates far exceeding applicable statutory maximums
(2,000%). Appellants have identified rates and terms that, on their face,
contravene state and/or federal usury laws, implicating 18 U.S.C.
§ 1961(6)(B) regarding “unlawful debts.” Evidence also indicates that
Appellees have acted as unregistered _broker-dealers—heightening the

impropriety of the underlying predatory debt transactions.

44

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 54 of 60

2. Null and Void Ab Initio: Appellants have expressly argued that any alleged
obligations asserted by Appellees arising from such agreements must be
deemed null and void from the outset under controlling authorities. The
Bankruptcy Court nevertheless erred and failed or refused to make a proper
factual inquiry into these allegations or to hold a requisite evidentiary
hearing, thereby allowing claims premised on facially unlawful obligations to
encumber the estate.

3. Potential Breach of Professional Conduct Rules: Appellants further aver
that certain counsels, KTS lawyers, Meir, Mills, Kadaba, Walker, Zitter,
Grushko, Baker & McKenzie, LLP, the State Bar of Georgia, in the
proceedings, by continuing to advocate for or enforce these predatory debts,
contravened basic ethical prohibitions, Rule 8.4, and duties of candor, Rule
3.3, to the tribunal. The Bankruptcy Court’s glaring omission in addressing
these serious concerns undermined the fairness of the process, a critical error

requiring correction on appeal.

C. Res Judicata and Collateral Estoppel

Appellants firmly maintain that specific claims now pressed by Appellees
were conclusively extinguished by prior final judgments in other federal

proceedings:

45

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 55 of 60

1. Prior Final Judgment in District Court: A binding Rule 41(a)(2) final
judgment of the 02cv2219 United States District Court for the Southern
District of New York expressly addressed the enforceability of the same or
substantially similar debt instruments. That final judgment plainly superseded
the claims that some creditors and their counsel later re-asserted in the
bankruptcy forum.

2. Res Judicata (Claim Preclusion) Elements: Under Eleventh Circuit law, res
judicata applies where (1) the previous decision was rendered by a court of
competent jurisdiction, (ii) the decision was final and on the merits, (iii) the
parties (or their privies) are identical, and (iv) the same cause of action was
involved in both suits. Here, each element is indisputably met, yet the
Bankruptcy Court allowed those same claims, or derivative forms of them, to
proceed.

3. Collateral Estoppel (Issue Preclusion) Factors: Even if the entire cause of
action is not identical, issues “actually litigated and necessary to the outcome”
of the prior proceeding cannot be revisited. Appellants have shown that the
specific factual determinations—namely, that certain notes or liabilities were

void due to usurious rates, GX 1-4—were fully stipulated, see DC Dkt. 19-4,

46

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 56 of 60

litigated and necessarily resolved. The Bankruptcy Court erred by permitting
creditors to resurrect or “re-litigate” them.

4. Impact of Judicial Estoppel and Finality: The erroneous re-ligation in the
Bankruptcy Court not only undermines the finality principle that fosters
reliance on court judgments but also results in duplicative litigation that is
contrary to fundamental notions of judicial economy. Appellants were
prejudiced by being compelled to defend again against claims that had been

conclusively resolved by Rule 41(a)(2) final judgment in their favor

D. Evidentiary or Procedural Defects

Appellants emphasize that multiple procedural irregularities in the
Bankruptcy Court irreparably prejudiced the fair adjudication of their claims and

defenses:

1. Denial of Due Process: Appellants received inadequate notice and
opportunity to present material evidence refuting the validity of the contested
predatory debt obligations, GX 1-4. Critical documentary proofs and witness
testimony—particularly regarding interest rate computations and the broker-
dealer status of certain noteholders—were never considered or admitted due

to improper procedural constraints.

47

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 57 of 60

2. Incomplete or Erroneously Curtailed Record: Despite timely objections,
the Bankruptcy Court declined to incorporate or scrutinize certain key filings
that demonstrate the impropriety of the alleged debts. This omission
contravenes the requirement of a full and transparent record under Fed. R.
Bankr. P. 8009, depriving Appellants of any meaningful chance to establish
the facial illegality of the instruments.

3. Misapplication of Bankruptcy Rules: The Bankruptcy Court approved or
validated claims even where the underlying obligations were contested as
usurious. It further accelerated certain motions (e.g., a motion to reject
executory contracts) without convening the thorough evidentiary hearing
mandated by the Bankruptcy Code. This truncated process prevented
Appellants from effectively raising defenses, including those rooted in state
law prohibitions on interest rates exceeding statutory caps.

4. Cumulative Effect of Procedural Errors: While any one error might
warrant remand, the aggregate prejudice here is eudolanis: The
Bankruptcy Court’s refusal to examine evidence of usury, its misapplication
of final-judgment preclusion standards, and its hasty disposition of critical

motions collectively resulted in a ruling that is fatally flawed.

CONCLUSION

48

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 58 of 60

Appellants submit that these Additional Considerations—the need for
injunctive relief, the thorough examination of criminally usurious or otherwise void
debt instruments, the proper application of res judicata and collateral estoppel, and
the imperative to rectify the substantial evidentiary and procedural shortcomings
below—are decisive. Each point compels reversal of the Bankruptcy Court’s rulings
or, at minimum, a remand with clear instructions that no claim or interest arising
from criminal usury or void transactions can be lawfully enforced against the
Debtor’s estate. Appellants stand prepared to demonstrate that, under the most
exacting scrutiny, the lower court’s orders cannot withstand de novo appellate
review and that full relief for the Debtor’s estate is not only justified but required by

controlling federal law.

Dated: April 7, 2025
Brooklyn, New York

ectfully submitted,

/s/ sses T. Ware

Ulysses T. Ware

Attorney in Fact for Appellants

Ulysses T. Ware and Group Management
The Office of Ulysses T. Ware

123 Linden Blvd., Suite 9-L

Brooklyn, NY 11226

(718) 844-1260

utware007@gmail.com

49

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 Filed 04/10/25 Page 59 of 60

I, Ulysses T. Ware, Appellant herein, certify under oath and subject to the penalty
of perjury that I timely filed Appellants’ Rule 8014 Appeal Brief in 25cv00613
(NDGA) on Monday, April 7, 2025, 11:52:01 AM via email to the Chambers of the

Y, Michael ue Brown, U.S. District Judge (NDGA), and via U.S. mail.

/s/ Sf Apter 2 Wa Ware

Declaration of Filing and Service Pursuant to 18 U.S.C. § 2071(a), (b)

I, Ulysses T. Ware, attorney in fact for the Appellants, hereby declare under penalty
of perjury pursuant to 28 U.S.C. § 1746, that the foregoing memorandum and the
attached Appellants’ Rule 8014 appeal brief (Part 18-0A) constitute a judicial
pleading submitted to the Office of the District Clerk’s possession for filing and
docketing in Case No. 1:25-cv-00613-MLB, on this 7" day of April, 2025; and all
Appellees, and their legal counsels of record have been served on April 7, 2025, with
a copy of the ao. (18-0A) (Part 18-0A).

Koes, A, Wie

Ulysses T. Ware, attorney in fact for the Appellants
Compliance with Standing Order, { (m), Dkt. 2.
April 4, 2025, “Meet and Confer” Efforts.

On April 4, 2025, Appellant, through the undersigned attorney in fact,

attempted in good faith to “meet and confer” with Kilpatrick, Townsend & Stockton

50

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
Case 1:25-cv-00613-MLB Document 26 -Filed 04/10/25 Page 60 of 60

LLP’s attorneys, including Messrs. Walker, Kadaba, Meir, and Mill, regarding the
substantive content of this Rule 8014 appeal brief (18-0A) and to solicit any
objections they might have to the entry of a proposed Joint Consent Order granting
the urgent relief requested herein. Despite providing notice and opportunity to
respond, Appellant received no indication that any of those attorneys intended to
appear in this appeal or to discuss potential consent terms for staying the Dkt. 10
briefing schedule, nor was any written objection tendered to Appellant in response

to the proposed Joint Consent Order.

/s/ Ulysses T. Ware

Y{Lywo a. Ware

End of Brief

51

(Part 18-0A) re: Ware, et al. v. Alpha Capital, AG, et al., Appellants’ Rule 8014 Opening Brief
Filed with District Judge Michael L. Brown on April 7, 2025, via email to Chambers and U.S. mail.
